USCA Case #23-3190     Document #2025974         Filed: 11/08/2023   Page 1 of 67



              ORAL ARGUMENT SET NOVEMBER 20, 2023

                                 No. 23-3190

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,
                                           Appellee,
                                      v.

DONALD J. TRUMP,
                                        Defendant-Appellant.
                          ______________________

                On Appeal from the United States District Court
                        for the District of Columbia


             OPENING BRIEF OF DEFENDANT-APPELLANT
                   PRESIDENT DONALD J. TRUMP


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USCA Case #23-3190       Document #2025974          Filed: 11/08/2023   Page 2 of 67



     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

A.     PARTIES AND AMICI CURIAE

       The parties in the district court include the United States of America and

President Donald J. Trump. The district court denied leave to file to proposed amici

curiae. The parties before this Court include the United States of America and

President Donald J. Trump.

Disclosure Statement: No Disclosure Statement under Federal Rule of Appellate

Procedure 26.1 or under Circuit Rule 26.1 is necessary, as Defendant is not a

corporation or similar entity.

B.     RULINGS UNDER REVIEW

       The parties are before this Court on appeal from the October 17, 2023,

Opinion and Order of the district court issued by Hon. Tanya S. Chutkan, D.Ct. Doc.

No. 105 in United States v. Trump, No. 1:23-cr-00257 (TSC), -- F. Supp. 3d --, 2023

WL 6818589 (D.D.C. Oct. 17, 2023), J.A.229.

C.     RELATED CASES

       There are no related cases as defined by Circuit Rule 28(a)(1)(C).

                                                                   /s/ D. John Sauer




                                          i
USCA Case #23-3190    Document #2025974           Filed: 11/08/2023      Page 3 of 67



                          TABLE OF CONTENTS

CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES………….i

TABLE OF CONTENTS…………………………………………………………..ii

TABLE OF AUTHORITIES………………………………………………………iv

GLOSSARY……………………………………………………………………….ix

INTRODUCTION………………………………………………………………….1

STATEMENT OF JURISDICTION………………………………………………..2

STATEMENT OF THE ISSUES…………………………………………………...6

STATEMENT OF THE CASE……………………………………………………..6

     A.    Core Political Speech About the Prosecution of President Trump……6

     B.    The Prosecution Seeks to Gag President Trump…………………….13

     C.    The District Court Enters the Gag Order Against President Trump...18

SUMMARY OF ARGUMENT…………………………………………………...20

STANDARD OF REVIEW……………………………………………………….25

ARGUMENT……………………………………………………………………...25

I.   The Gag Order Violates the First Amendment Rights of President
     Trump and His Audiences of Over One Hundred Million Americans……..25

     A.    The Gag Order Is Either Invalid on Its Face or Subject to the
           Strictest Level of Scrutiny…………………………………………...26

     1.    Gag orders in judicial proceedings require a showing of
           “clear and present danger to the administration of justice.”………...26

     2.    The Gag Order is a prior restraint on speech subject to the

                                       ii
USCA Case #23-3190   Document #2025974        Filed: 11/08/2023   Page 4 of 67



           “most exacting scrutiny.”……………………………………………29

      3.   The Presidential campaign calls for the First Amendment’s
           “fullest and most urgent application.”……………………………….31

      4.   The Gag Order violates the First Amendment rights of the tens of
           millions of Americans who listen to President Trump………………34

      5.   The Gag Order imposes an impermissible heckler’s veto…………..36

      6.   The Gag Order shields public figures from public criticism………..39

      7.   The Gag Order involves viewpoint discrimination………………….40

      B.   The Gag Order Cannot Survive Any Level of Scrutiny……………..43

      1.   The prosecution failed to establish any compelling interest
           for a prior restraint on speech……………………………………….43

      2.   The Gag Order failed to consider less speech-restrictive
           alternatives…………………………………………………………..45

      3.   The Gag Order is sweepingly overbroad……………………………48

II.   The Gag Order Is Unconstitutionally Vague……………………………….49

CONCLUSION…………………………………………………………………...55

CERTIFICATE OF SERVICE…………………………………………………….56

CERTIFICATE OF COMPLIANCE……………………………………………...57




                                    iii
USCA Case #23-3190   Document #2025974   Filed: 11/08/2023   Page 5 of 67



                      TABLE OF AUTHORITIES

Cases

ACLU, Inc. v. Zeh,
   864 S.E.2d 422 (Ga. 2021)…………………………………………………...40

Armstrong v. D.C. Pub. Library,
    154 F. Supp. 2d 67 (D.D.C. 2001)…………………………………………...34

Bailey v. Sys. Innovation, Inc.,
     852 F.2d 93 (3d Cir. 1988)…………………………………………………….5

Brandenburg v. Ohio,
    395 U.S. 444 (1969)………………………………………………….37, 38, 39

Brown v. Louisiana,
    383 U.S. 131 (1966)……………………………………………………...21, 37

Buckley v. Valeo,
    424 U.S. 1 (1976)…………………………………………………………….50

Burton v. City of Belle Glade,
    178 F.3d 1175 (11th Cir. 1999)…………………………………………..24, 52

Capital Cities Media, Inc. v. Toole,
    463 U.S. 1303 (1983)………………………………………………...30, 31, 45

Carson v. Am. Brands, Inc.,
    450 U.S. 79 (1981)…………………………………………………………….4

Cheney v. U.S. Dist. Ct. for the Dist. of Columbia,
    542 U.S. 367 (2004)…………………………………………………………...5

City of Houston v. Hill,
     482 U.S. 451 (1987)………………………………………………………….25

Cohen v. Beneficial Indus. Loan Corp.,
    337 U.S. 541 (1949)………………………………………………………...2, 3

                                  iv
USCA Case #23-3190   Document #2025974   Filed: 11/08/2023   Page 6 of 67



Collin v. Chicago Park Dist.,
     460 F.2d 746 (7th Cir. 1972)…………………………………………………37

Connally v. General Constr. Co.,
    269 U.S. 385 (1926)………………………………………………………….54

Counterman v. Colorado,
    600 U.S. 66 (2023)…………………………………………………………...37

Cox v. Louisiana,
    379 U.S. 536 (1965)………………………………………………………….37

Craig v. Harney,
    331 U.S. 367 (1947)………………………………………………………….48

Crane v. Ariz. Republic,
    972 F.2d 1511 (9th Cir. 1992)………………………………………………..40

Diesen v. Hessburg,
    455 N.W.2d 446 (Minn. 1990)……………………………………………….40

Edwards v. South Carolina,
   372 U.S. 229 (1963)………………………………………………………….37

Elrod v. Burns,
    427 U.S. 347 (1976)…………………………………………………………...3

Forsyth County v. Nationalist Movement,
    505 U.S. 123 (1992)………………………………………………………….37

Gentile v. State Bar of Nevada,
    501 U.S. 1030 (1991)…………………………………………………….27, 28

Gertz v. Robert Welch, Inc.,
    418 U.S. 323 (1974)……………………………………………………...39, 49

Grayned v. City of Rockford,
    408 U.S. 104 (1972)……………………………………………………...25, 52


                                   v
USCA Case #23-3190   Document #2025974      Filed: 11/08/2023   Page 7 of 67



Hynes v. Mayor & Council of Borough of Oradell,
    425 U.S. 610 (1976)………………………………………………….24, 50, 54

In re Murphy-Brown, LLC,
     907 F.3d 788 (4th Cir. 2018)………………………………………………..5, 6

In re Rafferty,
     864 F.2d 151 (D.C. Cir. 1988)………………………………………………...3

In re Reporters Comm. for Freedom of the Press,
     773 F.2d 1325 (D.C. Cir. 1985)……………………………………………….4

Landmark Communications, Inc. v. Virginia,
    435 U.S. 829 (1978)……………………………………...20, 26, 27, 28, 44, 45

Matal v. Tam,
    582 U.S. 218 (2017)……………………………………………...22, 38, 40, 41

McCullen v. Coakley,
   573 U.S. 464 (2014)………………………………………………………….39

McIntyre v. Ohio Elec. Comm’n,
    514 U.S. 334 (1995)………………………………………………………….31

Meyer v. Grant,
   486 U.S. 414 (1988)………………………………………………………….32

Monitor Patriot Co. v. Roy,
   401 U.S. 265 (1971)………………………………………………………….31

NAACP v. Button,
   371 U.S. 415 (1963)………………………………………….24, 50, 51, 52, 53

NAACP v. Claiborne Hardware Co.,
   458 U.S. 886 (1982)………………………………………………………….25

Nebraska Press Association v. Stuart,
    427 U.S. 539 (1976)……………………...21, 22, 29, 30, 43, 44, 46, 47, 49, 51


                                   vi
USCA Case #23-3190   Document #2025974   Filed: 11/08/2023   Page 8 of 67



N.Y. Times Co. v. Sullivan,
     376 U.S. 254 (1964)………………………………………………………….48

Packingham v. North Carolina,
    582 U.S. 98 (2017)…………………………………………………………...34

Parker v. CBS, Inc.,
    230 F.2d 937 (2d Cir. 1963)…………………………………………………...5

Procunier v. Martinez,
    416 U.S. 396 (1974)………………………………………………………….46

R.A.V. v. City of St. Paul,
    505 U.S. 377 (1992)……………………………………………………...23, 49

Red Lion Broad. Co. v. F.C.C.,
    395 U.S. 367 (1969)………………………………………………………….34

Republican Party of Minnesota v. White,
    536 U.S. 765 (2002)…………………………………………………...1, 33, 34

Rosenblatt v. Baer,
    383 U.S. 75 (1966)……………………………………………………….22, 40

Saxe v. State Coll. Area Sch. Dist.,
    240 F.3d 200 (3d Cir. 2001)……………………………………………...38, 39

Seattle Times Co. v. Rhinehart,
     467 U.S. 20 (1984)…………………………………………………………...46

Sheppard v. Maxwell,
    384 U.S. 333 (1966)……………………………………………...23, 27, 46, 47

Sierra Club v. U.S. Dep’t of Agric.,
     716 F.3d 653 (D.C. Cir. 2013)………………………………………………...4

Smith v. Daily Mail Pub. Co.,
    443 U.S. 97 (1979)……………………………………………………….21, 30


                                  vii
USCA Case #23-3190   Document #2025974   Filed: 11/08/2023   Page 9 of 67



Snyder v. Phelps,
    562 U.S. 443 (2011)………………………………………………………….31

Susan B. Anthony List v. Driehaus,
    573 U.S. 149 (2014)………………………………………………….21, 31, 35

United States v. Bronstein,
    849 F.3d 1101 (D.C. Cir. 2017)…………………………………………..25, 52

United States v. Brown,
    218 F.3d 415 (5th Cir. 2000)…………………………………3, 4, 5, 32, 35, 46

United States v. Doe,
    968 F.2d 86 (D.C. Cir. 1992)………………………………………………...25

United States v. Ford,
    830 F.2d 596 (6th Cir. 1987)………………………………..4, 5, 27, 32, 35, 47

United States v. Popa,
    187 F.3d 672 (D.C. Cir. 1999)…………………………………………...25, 39

United States v. Schiavo,
    504 F.2d 1 (3d Cir. 1974)……………………………………………………...4

Va. State Bd. of Pharm. v. Va. Citizens Consumer Council, Inc.,
     425 U.S. 748 (1976)………………………………………………….21, 34, 35

Watson v. City of Memphis,
    373 U.S. 526 (1963)………………………………………………………….37

Statutes

18 U.S.C. § 3231…………………………………………………………………...2

28 U.S.C. § 1291…………………………………………………………………...2

28 U.S.C. § 1292(a)(1)…………………………………………………………..2, 4




                                  viii
USCA Case #23-3190           Document #2025974                 Filed: 11/08/2023         Page 10 of 67



                                           GLOSSARY

Gag Order…………………………….Opinion and Order in United States v.
                     Trump, No. 1:23-cr-257-TSC, 2023 WL
                     6818589, D. Ct. Doc.105 (Oct. 17, 2023),
                     J.A.229

J.A.__....................................................Joint Appendix (page number)

President Trump………………………Defendant-Appellant Donald J. Trump

the prosecution………………………..Appellee United States of America




                                                  ix
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 11 of 67



                                INTRODUCTION

      The Supreme Court has “never allowed the government to prohibit candidates

from communicating relevant information to voters during an election.” Republican

Party of Minnesota v. White, 536 U.S. 765, 781-82 (2002). Accordingly, no court

has ever imposed a gag order on the political speech of a candidate for public office,

let alone the leading candidate for President of the United States—until now.

      On October 17, 2023, the district court entered a sweeping prior restraint on

the speech of Defendant-Appellant Donald J. Trump (“President Trump”) in the

middle of his Presidential campaign. J.A.229-31 (the “Gag Order”). The Gag Order

restricts President Trump from making public statements about key aspects of his

prosecution at the hands of the Administration he is seeking to replace—issues that

are central to, and inextricably entwined with, the 2024 Presidential campaign. The

Gag Order violates President Trump’s most fundamental First Amendment rights.

Even worse, it gives no consideration to the First Amendment rights of President

Trump’s audience, the American public, to receive and listen to his speech.

      Given its extraordinary nature, one would expect an extraordinary

justification for the Gag Order. None exists. The Gag Order rests entirely, and

wrongfully, on a classic heckler’s veto—i.e., the district court’s speculation that

President Trump’s audiences might react to his speech with “harassment” or

“threats” to prosecutors, witnesses, or court staff. The First Amendment forbids this

                                          1
USCA Case #23-3190      Document #2025974              Filed: 11/08/2023   Page 12 of 67



heckler’s veto, and even if it were legally viable—which it is not—no convincing

evidence supports it. President Trump has made many public statements about this

case in the three months since his indictment, and yet the Department of Justice (“the

prosecution”) submitted no evidence of any “threats” or “harassment” to

prosecutors, witnesses, or court staff during that time. Instead, the prosecution

admitted, “of course this prejudice is speculative.”

      A prior restraint cannot be based on speculation. The district court cannot

silence President Trump based solely on the anticipated reaction of his audiences.

The district court lacks the authority to muzzle the core political speech of the

leading candidate for President at the height of his re-election campaign. President

Trump is entitled to proclaim, and the American public is entitled to hear, his core

political messages. The Gag Order should be immediately reversed.

                       STATEMENT OF JURISDICTION

      The district court exercised subject-matter jurisdiction over the underlying

federal criminal case under 18 U.S.C. § 3231. The district court entered the Gag

Order on October 17, 2023. J.A.229. President Trump filed a timely notice on

October 17, 2023. J.A.232. This Court has appellate jurisdiction under 28 U.S.C.

§§ 1291 and 1292(a)(1). See Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541,

546-47 (1949).




                                          2
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 13 of 67



      Under Cohen, the Gag Order is an immediately appealable collateral order

that is a “final” order under 28 U.S.C. § 1291. Cohen, 337 U.S. at 546-47. “The

loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976). The freedom to speak about the case is an issue that is separate from the

merits, and the Gag Order is final on that separate issue. J.A.231.

      The Gag Order, therefore, “fall[s] in that small class which finally determine

claims of right separate from, and collateral to, rights asserted in the action, too

important to be denied review and too independent of the cause itself to require that

appellate consideration be deferred until the whole case is adjudicated.” In re

Rafferty, 864 F.2d 151, 153 (D.C. Cir. 1988) (quoting Cohen, 337 U.S. at 546).

Rafferty held that an order preventing dissemination of information that was subject

to civil discovery was an appealable collateral order, because it “conclusively

determine[d] a disputed question,” which was “an important question completely

separate from the merits of the action,” and “would be effectively unreviewable on

appeal from a final judgment.” Id. at 154.

      Following this reasoning, courts that have reviewed orders restricting criminal

defendants’ speech during the pendency of their criminal cases have concluded that

those gag orders were appealable collateral orders. United States v. Brown, 218 F.3d

415, 420 (5th Cir. 2000) (holding that a gag order against a criminal defendant was

                                         3
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 14 of 67



immediately appealable); United States v. Ford, 830 F.2d 596, 598 (6th Cir. 1987)

(same). As the Fifth Circuit noted in Brown, this “conclusion finds support in the

fact that this Court and other Courts of Appeals have repeatedly held, in both civil

and criminal trials, that gag orders imposed on members of the press are appealable

under the collateral order doctrine.” Brown, 218 F.3d at 422 (citing cases); see also

In re Reporters Comm. for Freedom of the Press, 773 F.2d 1325, 1330 (D.C. Cir.

1985) (holding that an order restricting media access to civil discovery materials

until after the conclusion of trial was an appealable collateral order); United States

v. Schiavo, 504 F.2d 1, 5 (3d Cir. 1974) (en banc) (holding that a gag order on the

press during a criminal trial was an appealable collateral order). The Fifth Circuit

correctly “perceive[d] no reason to limit the appealability of this type of order to

members of the media alone.” Brown, 218 F.3d at 422; see also Ford, 830 F.2d at

598. As Brown noted, the criminal defendant’s “asserted right to contemporaneously

comment on his case in public and defend his reputation would … be irretrievably

lost if review were postponed until trial is completed.” 218 F.3d at 421 (citation and

quotation marks omitted).

      In the alternative, the Gag Order is immediately appealable under 28 U.S.C.

§ 1292(a)(1) because the district court’s order has the “practical effect” of granting

an injunction. Sierra Club v. U.S. Dep’t of Agric., 716 F.3d 653, 659 (D.C. Cir. 2013)

(citing Carson v. Am. Brands, Inc., 450 U.S. 79, 84 (1981)). Orders prohibiting a

                                          4
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 15 of 67



party from speaking are “in the nature of a preliminary injunction, and therefore

appealable under” that provision. Parker v. CBS, Inc., 230 F.2d 937, 938 (2d Cir.

1963) (per curiam); see also Ford, 830 F.2d at 598 (“Courts of Appeals have found

orders restraining speech in connection with pending cases appealable ... injunctive

orders under §1292(a)(1).”); Bailey v. Sys. Innovation, Inc., 852 F.2d 93, 96 (3d Cir.

1988) (finding imposition of a local rule limiting attorneys’ speech to the litigants

and their attorneys to be the equivalent of a requested preliminary injunction). But

see Brown, 218 F.3d at 422 n.7 (rejecting appellate jurisdiction over a gag order

under §1292(a)(1) but finding appellate jurisdiction under § 1291).

      Finally, if the Court determines that the Gag Order is not an appealable order,

President Trump respectfully requests that the Court treat this appeal as a petition

for writ of mandamus against the Gag Order and grant it for the reasons stated herein.

See, e.g., In re Murphy-Brown, LLC, 907 F.3d 788, 796 (4th Cir. 2018). The three

factors governing mandamus are satisfied here. See Cheney v. U.S. Dist. Ct. for the

Dist. of Columbia, 542 U.S. 367, 380 (2004). First, if this Court determines that

direct appeal is not available, then President Trump will “have no other adequate

means to attain the relief he desires.” Id. at 380-81. Second, President Trump’s

“right to issuance of the writ is ‘clear and indisputable,’” id. at 381, for the reasons

discussed at length in the Argument section below. Third, “the writ is appropriate




                                           5
USCA Case #23-3190     Document #2025974           Filed: 11/08/2023   Page 16 of 67



under the circumstances,” id., because “mandamus plays an important and necessary

role in protecting First Amendment freedoms.” Murphy-Brown, 907 F.3d at 796.

                        STATEMENT OF THE ISSUES

I.    Whether the Gag Order violates the First Amendment rights of both President

Trump and tens of millions of Americans to engage in and hear core political speech

in the middle of an ongoing Presidential campaign.

II.   Whether the Gag Order is unconstitutionally vague.

                         STATEMENT OF THE CASE

      President Donald J. Trump is the leading candidate for President of the United

States. He holds dominating leads in polls for the Republican nomination, and he

holds a substantial lead over President Biden in general election head-to-head

polling.1 President Trump has over 100 million followers across social-media

platforms.2 In addition, his public statements and social-media posts are both

amplified by social media users, including his followers, and widely reported on in

national media, reaching audiences far wider than his social-media followers alone.

      A.    Core Political Speech About the Prosecution of President Trump.


1
  See, e.g., Shane Goldmacher, Trump Leads in 5 Critical States as Voters Blast
Biden, Times/Siena Poll Finds, N.Y. Times (Nov. 5, 2023),
https://www.nytimes.com/2023/11/05/us/politics/biden-trump-2024-poll.html.
2
  See, e.g., Number of Followers of Donald Trump on Select Social Media Platforms
as       of     January      2023,      Statista.com    (Jan.      30,     2023),
https://www.statista.com/statistics/1336497/donald-trump-number-of-followers-
selected-social-platforms/.
                                         6
USCA Case #23-3190      Document #2025974         Filed: 11/08/2023   Page 17 of 67



      On August 1, 2023, President Trump was indicted for alleged conduct in

disputing the outcome of the 2020 Presidential election. J.A.20. The indictment

does not charge President Trump for the protests at the Capitol on January 6, 2021.

See id. Instead, it charges him with supposedly “obstructing official proceedings”

and “defrauding the United States” by making First Amendment-protected

statements disputing the outcome of the Presidential election, and by engaging in

First Amendment-protected advocacy to public officials about investigating and

certifying the election’s outcome. Id.

      The indictment in this case, and the issues surrounding it, are inextricably

intertwined with President Trump’s campaign for re-election to the Presidency. One

commentator has aptly described the issues surrounding the indictment as “central

to [Biden’s] re-election argument.” Kevin Liptak, et al., Trump’s Third Indictment

Is the Most Personal – and Trickiest – One for Biden, CNN.com (Aug. 2, 2023),

https://www.cnn.com/2023/08/02/politics/joe-biden-donald-trump-

indictment/index.html. President Trump is being prosecuted by the Administration

he is seeking to defeat at the ballot box. President Trump’s opponents—including

purported witnesses in this case—routinely attack him by citing the indictment and

the issues raised it, challenging President Trump’s fitness to be re-elected as




                                         7
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023   Page 18 of 67



President, or arguing that the risk of conviction should disqualify his candidacy.3

President Trump frequently responds to such attacks in public statements and on

social media, criticizing his opponents and stating that this prosecution is a

politically motivated campaign to interfere with the election, silence President

Trump’s core political speech, and derail his candidacy for the Presidency.4

      On August 1, 2023, the day the indictment was filed, the Special Counsel

prosecuting President Trump gave a speech at a press conference falsely implying

that President Trump is responsible for “[t]he attack on our nation’s Capitol on

January 6, 2021,” even though the indictment makes no such charge. See, e.g.,



3
  See, e.g., Olafimihan Oshin, Christie Says Trump’s Lead in 2024 Race is “Fatally
Flawed”,             THE           HILL          (Oct.          24,          2023),
https://thehill.com/homenews/campaign/4272286-christie-trump-2024-primary-
fatally-flawed/; Joan E. Greve, Mitt Romney: Trump Is Unfit for Office but New York
Charges        Are     Political,    THE     GUARDIAN       (Apr.      4,    2023),
https://www.theguardian.com/us-news/2023/apr/04/mitt-romney-trump-unfit-
office-new-york-charges-political; Lucien Bruggeman, Republican Liz Cheney
Calls Trump “Clearly Unfit for Future Office”, ABC NEWS (Jan. 2, 2022),
https://abcnews.go.com/Politics/republican-liz-cheney-calls-trump-unfit-future-
office/story?id=82039304.
4
  See, e.g., Mallory Wilson, Trump Slams Judge for Reimposing Gag Order, Vows to
Appeal          It,     WASHINGTON          TIMES       (Oct.       30,      2023),
https://www.washingtontimes.com/news/2023/oct/30/trump-slams-judge-
reimposing-gag-order-vows-appeal/; Andrew Zhang, Trump Blasts Special Counsel
Jack Smith for Seeking Gag Order, POLITICO (Sept. 15, 2023),
https://www.politico.com/news/2023/09/15/trump-blasts-special-counsel-jack-
smith-for-seeking-gag-order-00116376; Jared Gans, Trump Rages over Legal
Problems        on    Truth      Social,   THE     HILL     (July     24,    2023),
https://thehill.com/homenews/campaign/4115921-trump-rages-over-legal-
problems-on-truth-social/.
                                          8
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 19 of 67



Caitlin Yilek, Special Counsel Jack Smith Announces New Trump Charges, Calling

Jan.   6   an    “Unprecedented     Assault”,    CBS    NEWS     (Aug.    1,   2023),

https://www.cbsnews.com/news/trump-indictment-jack-smith-statement-watch-

live-stream-today-2023-08-01/. The Special Counsel reportedly stated:

       The attack on our nation’s Capitol on Jan. 6, 2021, was an unprecedented
       assault on the seat of American democracy…. As described in the indictment,
       it was fueled by lies. Lies by the defendant targeted at obstructing a bedrock
       function of the U.S. government: the nation’s process of collecting, counting
       and certifying the results of the presidential election.

Id. This statement egregiously mischaracterized the indictment, which does not

charge that President Trump is responsible for “[t]he attack on our nation’s Capitol.”

Id. Despite its inaccuracy, the Special Counsel’s statement drove negative headlines

about the indictment, falsely implying that President Trump was criminally charged

with unlawfully fomenting violence at the Capitol on January 6, 2021.5




5
  See, e.g., Ryan Knappenberger, Donald Trump Indicted for Role in Jan. 6 Capitol
Riot,        COURTHOUSE         NEWS        SERVICE       (Aug.      1,       2023),
https://www.courthousenews.com/donald-trump-indicted-for-role-in-jan-6-capitol-
riot/; Rebecca Cohen, et al., Trump Was Indicted over His Involvement in the January
6 Capitol Riot and Efforts to Overturn the Election Results. Here’s What the 4
Charges Against Him Mean., BUSINESS INSIDER (Aug. 1, 2023),
https://www.businessinsider.com/trump-january-6-criminal-indictment-charges-
explained-2023-7; Donald Trump Indicted on Charges Related to Jan. 6 Capitol
Riots, VARIETY (Aug. 1, 2023), https://variety.com/2023/politics/news/donald-
trump-indicted-january-6-capitol-riot-1235677884/; Michael Macagnone, et al.,
Trump Indicted in Washington over Jan. 6 Attack on Capitol, ROLL CALL (Aug. 1,
2023), https://rollcall.com/2023/08/01/trump-indicted-in-washington-over-jan-6-
attack-on-capitol/.
                                          9
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 20 of 67



      Before and after the indictment, sources familiar with the investigation have

perpetrated a long series of leaks of confidential information about the investigation

and prosecution of President Trump to national news media, driving relentlessly

negative media coverage of President Trump and this case.6 In many cases, it is

obvious that those leaks—which report on issues like the timing of charges, the

prosecution’s internal thinking, and confidential grand-jury matters—could have

come only from the prosecution. See id.




6
  See, e.g., Katherine Faulders, Ex-Chief of Staff Mark Meadows Granted Immunity,
Tells Special Counsel He Warned Trump About 2020 Claims: Sources, ABC NEWS
(Oct. 24, 2023), https://abcnews.go.com/US/chief-staff-mark-meadows-granted-
immunity-tells-special/story?id=104231281; Alan Feuer and Maggie Haberman,
Prosecutors Follow Multiple Strands as Jan. 6 Indictment Decision Looms, N.Y.
TIMES (July 25, 2023), https://www.nytimes.com/2023/07/25/us/politics/jan-6-
indictment-decision.html; Michael S. Schmidt and Maggie Haberman, Prosecutors
Ask Witnesses Whether Trump Acknowledged He Lost 2020 Race, N.Y. TIMES (July
13, 2023), https://www.nytimes.com/2023/07/13/us/politics/kushner-grand-jury-
trump.html; Katelyn Polantz et al., Special counsel is locked in at least 8 secret
court battles in Trump investigations, CNN (Feb. 16, 2023),
https://www.cnn.com/2023/02/16/politics/secret-grand-jury-special-counsel-
trump/index.html; Jared Gans, Meadows testified before grand jury in special
counsel’s      Trump     probe:    report,     THE    HILL   (June    6,    2023),
https://thehill.com/regulation/court-battles/4037692-meadows-testified-before-
grand-jury-in-special-counsels-trump-probe-report/; Jonathan Dienst et al., Trump
ally Bannon subpoenaed in special counsel Jack Smith’s Jan. 6 grand jury probe,
NBC NEWS (June 7, 2023), https://www.nbcnews.com/politics/donald-trump/steve-
bannon-subpoenaed-special-counsel-jan-6-rcna88248; Ryan J. Reilly et al., Trump
grand jury hears testimony from aide who was with him on Jan. 6, NBC NEWS (July
20, 2023), https://www.nbcnews.com/politics/justice-department/trump-grand-jury-
hear-testimony-aide-was-jan-6-rcna94998.
                                          10
USCA Case #23-3190       Document #2025974         Filed: 11/08/2023   Page 21 of 67



      Likewise, potential witnesses in the case—such as former Vice President

Mike Pence, former Attorney General Bill Barr, and former Chairman of the Joint

Chiefs of Staff Mark Milley—routinely make public statements attacking President

Trump and his fitness for office, often with specific reference to this case. For

example, Attorney General Barr recently stated, ridiculously, that President Trump’s

“verbal skills are limited,” leading to a strong response from President Trump. See

Marina Pitofsky, “Couldn’t Do the Job”: Donald Trump Responds after Bill Barr

Says His “Verbal Skills Are Limited”, USA TODAY (Oct. 30, 2023),

https://www.usatoday.com/story/news/politics/2023/10/30/donald-trump-bill-barr-

trade-insults/71387619007/. Attorney General Barr has also made many statements

opposing President Trump’s re-election campaign, stating baselessly that “another

Trump term would amount to a ‘horror show,’ and that Trump would ‘deliver chaos’

instead of policies.” Thomas Kika, Bill Barr’s Grim Prediction on What Will

Happen     if    Donald     Trump    Wins,    NEWSWEEK        (Oct.    28,     2023),

https://www.newsweek.com/bill-barrs-grim-prediction-what-will-happen-if-

donald-trump-wins-1838811. Attorney General Barr profits personally from such

statements, as he has written a book about his time in the Trump Administration.

WILLIAM     P.   BARR,    ONE    DAMN      THING    AFTER     ANOTHER        (William

Morrow/HarperCollins Publishers 2022).




                                        11
USCA Case #23-3190        Document #2025974         Filed: 11/08/2023    Page 22 of 67



      Vice President Pence routinely makes similar statements, including statements

directly related to this case. See, e.g., Meg Kinnard, et al., Pence Calls Trump’s

Attacks on Milley “Utterly Inexcusable” at AP-Georgetown Foreign Policy Forum,

ASSOCIATED PRESS (Oct. 3, 2023), https://apnews.com/article/pence-foreign-policy-

ap-georgetown-2024-7909c44b2bfb38db5224b73bf324cf3f; Adam Wren, et al.,

Pence Slams Trump, GOP “Voices of Appeasement” as Israel Comes Under Attack,

POLITICO    (Oct.    7,    2023),   https://www.politico.com/news/2023/10/07/gop-

presidential-hopefuls-reaffirm-support-for-israel-following-hamas-attack-

00120481; Jacob Rosen, et al., Pence Says “History Will Hold Donald Trump

Accountable” for His Election Denial, CBS NEWS (Mar. 11, 2023),

https://www.cbsnews.com/news/mike-pence-says-history-will-hold-donald-trump-

accountable-election-denial/.

      While this case is pending, President Trump continues to campaign for office,

engage in core political speech, respond to his critics, and publicly address issues

relating to the indictment. Since August 1, 2023, he has routinely posted public

statements about this case and issues that relate to it. In such statements, he often

criticizes the Biden Administration, the public figures who attack him, as well as the

Special Counsel and his team of prosecutors—whom he views as willing participants

in the Biden Administration’s campaign of political persecution and election

interference.

                                         12
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023   Page 23 of 67



      For example, President Trump has described the indictment as “the FREE

SPEECH Indictment of me by my political opponent, Crooked Joe Biden’s

Department of InJustice.” J.A.80. He has stated, “we have a Department of Injustice

rigging the election for Crooked Joe Biden.” J.A.81. He has posted that “Deranged

Jack Smith … and his many Thug prosecutors, are illegally leaking, everything and

anything, to the Fake News Media!!!” J.A.82. He has stated that “Deranged Jack

Smith & his team of Thugs … decided to bring [the indictment] smack in the middle

of Crooked Joe Biden’s Political Opponent’s campaign against him. Election

interference!” Id. He has posted, “It has just been reported that aides to TRUMP

prosecutor, Deranged Jack Smith, met with high officials at the White House just

prior to these political sleazebags indicting me OVER NOTHING.” J.A.83. He has

also made statements criticizing those who publicly attack him, such as Vice

President Pence, Attorney General Barr, and General Milley. See, e.g., J.A.129-30.

      None of President Trump’s public statements constitutes a threat, “fighting

words,” or incitement to imminent lawless action. The prosecution did not contend

that they fall within these or any other First Amendment exception, and the district

court did not find that they do. See J.A.229-31.

      B.    The Prosecution Seeks to Gag President Trump.

      On September 15, 2023, the prosecution filed its motion to impose a gag order

on President Trump. J.A.74. The motion focused heavily on what the prosecution

                                        13
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 24 of 67



described as President Trump’s attempt to “undermine confidence in the criminal

justice system” and “prejudice the jury pool” by making “disparaging and

inflammatory” statements criticizing the prosecutors and the district court. J.A.75;

see also J.A.74, 79, 81, 88, 91. The district court did not ultimately credit the

prosecution’s concerns about “confidence in the criminal justice system” or

“prejudice [to] the jury pool.” J.A.229-31.

      The prosecution did not contend that President Trump’s comments constitute

threats, nor that President Trump incited others to break the law. Instead, the motion

cited examples of several individuals who claimed that they received threatening and

harassing communications from unidentified third parties after President Trump

publicly criticized them in late 2020—almost three years ago, and long before this

case was brought. J.A.76-78. The motion did not contend that President Trump’s

own comments were threatening or unlawful, but relied entirely on the claim that

independent third parties supposedly made such comments in reaction to President

Trump’s speech. See id. The most recent statement of President Trump that was

supposedly followed by “threats” or “harassment” from third parties, according to

the prosecution, was made in December 2020. Id.

      The prosecution then provided screen shots of ten social-media posts that

President Trump had posted since his indictment on August 1, 2023. J.A.79-83.

These posts were dated August 4, 5, 6, 7, 8, 21, 23, and 28, 2023. Id. The first post

                                         14
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 25 of 67



made no reference to the case at all. J.A.79.7 The next two posts accused the district

court of bias. J.A.80. The fourth post called for a “federal takeover” of the District

of Columbia due to its mismanagement and high crime rate. J.A.81.

      The next four posts contained criticisms of the Department of Justice and the

Special Counsel’s team, describing DOJ as the “Department of InJustice” that is

“rigging the election for Crooked Joe Biden,” the Special Counsel as “Deranged Jack

Smith,” and his prosecutors as a “team of Thugs.” J.A.81-83. The prosecution then

quoted two more posts criticizing the prosecution team. J.A.83-84.

      Finally, the prosecution complained that President Trump “posted publicly

about individuals whom he has reason to believe will be witnesses in his trial.”


7
  This post simply stated, “If you go after me, I’m coming after you!” in capital
letters. J.A.79. Even though this post made no reference to the case, prosecutors
and media immediately claimed that it was somehow a “threat” to “witnesses or
court personnel.” See, e.g., Kyle Cheney, et al., Feds Alert Judge to Trump’s “If You
Go After Me, I’m Coming After You!” Post, POLITICO (Aug. 4, 2023),
https://www.politico.com/news/2023/08/04/feds-alert-judge-to-trumps-if-you-go-
after-me-im-coming-after-you-post-00109944; David Jackson, “I’m Coming after
You:” Donald Trump Threatens Rivals; Prosecutor Seeks Protective Order”, USA
TODAY                        (Aug.                       4,                     2023),
https://www.usatoday.com/story/news/politics/2023/08/04/im-coming-after-you-
trump-issues-new-threats-after-new-indictment/70529404007/.             The Trump
campaign stated that the post referred to political attacks by anti-Trump super PACs,
and did not refer to the case. Nick Robertson, Trump Campaign Defends
Threatening Social Media Posts as Free Speech, THE HILL (Aug. 5, 2023),
https://thehill.com/regulation/court-battles/4139012-trump-campaign-defends-
threatening-social-media-posts-as-free-speech/ (“The Truth post cited is the
definition of political speech, and was in response to the RINO, China-loving,
dishonest special interest groups and Super PACs, like the ones funded by the Koch
brothers and the Club for No Growth.”).
                                          15
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 26 of 67



J.A.84. It stated that he posted a video “attacking the former Attorney General of

the United States, a potential witness in this case, on the very subject of his

testimony.” Id. It included two screen shots of posts by President Trump. The first

criticized Rudy Giuliani’s arrest in Fulton County, Georgia, as “sad for our country.”

J.A.85. The second criticized Vice President Pence on various grounds, calling him

“Liddle’ Mike Pence,” describing him as having “gone to the Dark Side” and “newly

emboldened,” noting his “2% poll numbers,” and describing him as “delusional” and

“not a good person.” Id.

      The prosecution did not present any evidence that any prosecutor, potential

witness, or court staff had experienced any threats or harassment after any of

President Trump’s public statements occurring since August 1, 2023; or any

evidence that any such individual had felt threatened or intimidated by such

statements. J.A.79-85. The prosecution did not present any statements by President

Trump about any court staff. See id. The prosecution’s motion did not present any

evidence of the availability or efficacy of alternative measures, other than a prior

restraint on President Trump’s speech. See id.

      On September 29, 2023, the prosecution filed its reply brief in the district

court. J.A.121. The reply brief quoted or referred to six more social-media posts by

President Trump from September 5, 6, 22, 23, and 26, 2023, and it cited an interview

of President Trump by NBC’s Meet the Press on September 17, 2023. J.A.129-30.

                                         16
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023      Page 27 of 67



These included a post criticizing “a Special Counsel’s Office prosecutor” as “Really

corrupt!,” J.A.129; two posts criticizing Vice President Pence as going to the “Dark

Side” and “mak[ing] up stories about me, which are absolutely false,” id.; a post

criticizing General Milley for “actually dealing with China to give them a heads up

on the thinking of the President of the United States” during 2021, J.A.130; a post

referring to the Georgia Secretary of State as “What a mess!,” id.; and a post calling

the prosecutors a “team of Lunatics working so hard on creating Election

Interference,” id. The Meet the Press interview, according to the prosecution,

included statements about the Georgia Secretary of State and Attorney General Barr.

J.A.129.

      Again, the reply brief did not include any evidence that any witness,

prosecutor, or court staff had experienced any threats or harassment from third

parties after President Trump’s statements. J.A.129-30. It did not present any

evidence that any such individual felt threatened or intimidated by such statements.

See id. It did not present any evidence about the availability or efficacy of any less

speech-restrictive alternative measures to address its concerns. See id.

      On October 16, 2023, the district court held a hearing on the prosecution’s

motion. J.A.143. The prosecution presented no new evidence at the hearing. See

id. During argument, the district court repeatedly expressed concern that President

Trump’s comments might inspire independent third parties to engage in threats or

                                         17
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 28 of 67



harassment toward witnesses, prosecutors, or court staff. J.A.183, 187, 192, 195,

202, 209. Defense counsel emphasized that the prosecution had submitted no

evidence to substantiate its concerns about such harassment or intimidation.

J.A.162, 168, 199. The court responded, “Why should they have to?” J.A.199.

When the district court asked the prosecution about the lack of evidence for its

showing of prejudice, the prosecution responded, “of course this prejudice is

speculative.” J.A.204 (emphasis added).

      Defense counsel proposed that “the easiest solution … is to adjourn the case

[until] after the presidential election.” J.A.162.8 The district court refused to

consider this proposal: “This trial will not yield to the election cycle and we’re not

revisiting the trial date.” J.A.162-63. The other two times that defense counsel

raised this alternative, the court again dismissed it out of hand. J.A.208, 221.

      C.     The District Court Enters the Gag Order Against President Trump.

      On October 17, 2023, the district court entered the Gag Order. J.A.229. The

Gag Order rested on the court’s determination that unidentified third parties might

react to President Trump’s speech with threats or harassment: “[W]hen Defendant

has publicly attacked individuals … those individuals are consequently threatened



8
 Though the case involves nearly 13 million pages of discovery and hundreds of
potential witnesses, the district court has set trial for March 4, 2023—a mere seven
months after indictment. This date falls the day before Super Tuesday, at the height
of the Republican primary campaign.
                                           18
USCA Case #23-3190       Document #2025974             Filed: 11/08/2023     Page 29 of 67



and harassed.” J.A.230. The Gag Order cited no evidence and made no findings

that any such threats or harassment had occurred since the case was filed. Id.

      The Gag Order recited that “alternative measures such as careful voir dire,

jury sequestration, and cautionary jury instructions are sufficient to remedy only

some of the potential prejudices that the government’s motion seeks to address.”

J.A.229-30. The Gag Order cited no evidence and made no other findings on this

point. The Gag Order did not consider or even mention the possibility of a trial

continuance until after the Presidential election as such an “alternative measure[].”

Id. The Gag Order declined to give weight to the fact that President Trump is

conducting a political campaign, J.A.231, and it gave no consideration to the rights

of over 100 million Americans to receive President Trump’s speech as they decide

whether to support him in the upcoming Presidential election. J.A.229-31.

      Based on this threadbare analysis, the district court ordered that:

      All interested parties in this matter, including the parties and their counsel, are
      prohibited from making any public statements, or directing others to make any
      public statements, that target (1) the Special Counsel prosecuting this case or
      his staff; (2) defense counsel or their staff; (3) any of this court’s staff or other
      supporting personnel; or (4) any reasonably foreseeable witness or the
      substance of their testimony.

J.A.231.   The court then included exemptions allowing President Trump to

“criticiz[e] the government generally,” to state “that Defendant is innocent of the

charges against him, or that his prosecution is politically motivated,” and to


                                           19
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023   Page 30 of 67



“criticiz[e] the campaign platforms or policies of” candidates such as “Vice

President Pence.” Id.

      President Trump filed a notice of appeal and moved for stay pending appeal.

J.A.233. On October 29, 2023, the district court denied the motion for stay pending

appeal. J.A.334.

                          SUMMARY OF ARGUMENT

I.    The Gag Order violates the First Amendment rights of both President Trump

and over 100 million Americans who listen to him. President Trump is the leading

Republican candidate for President of the United States, and he has a fundamental

right to spread his core political speech and message. His audiences, and the

American public, have a fundamental right to receive his campaign speech. The Gag

Order violates these fundamental rights by imposing a viewpoint-based prior

restraint on campaign speech, based on an impermissible “heckler’s veto” theory,

without any plausible justification.

      A.     Because it violates a series of fundamental First Amendment precepts,

the Gag Order is either invalid on its face or subject to the most exacting scrutiny

conceivable. As a restriction on speech about judicial proceedings, the Gag Order

requires a “clear and present danger to the administration of justice,” Landmark

Communications, Inc. v. Virginia, 435 U.S. 829, 844 (1978), yet no such showing

was made. And, as a prior restraint on speech, the Gag Order imposes “the most

                                        20
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 31 of 67



serious and the least tolerable infringement on First Amendment rights,” Nebraska

Press Association v. Stuart 427 U.S. 539, 559 (1976), and is subject to the “most

exacting scrutiny.” Smith v. Daily Mail Pub. Co., 443 U.S. 97, 102 (1979).

      Because it restricts President Trump’s campaign speech, the Gag Order calls

for the “fullest and most urgent application” of the First Amendment. Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 162 (2014). The Gag Order gave no

consideration to the First Amendment rights of President Trump’s audiences,

comprising over 100 million Americans, even though his audiences enjoy an equal

and “reciprocal” interest in hearing President Trump’s speech, Virginia State Bd. of

Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 756 (1976)—

especially when he is the leading candidate for President of the United States.

      The Gag Order’s sole justification is that President Trump’s speech might

hypothetically lead unidentified, independent third parties to subject prosecutors,

potential witnesses, or court staff to “threats” or “harassment.” J.A.230. This is a

classic heckler’s veto. Under the First Amendment, speakers “are not chargeable

with the danger” that their audiences “might react with disorder or violence.” Brown

v. Louisiana, 383 U.S. 131, 133 n.1 (1966) (plurality op.). The government may not

“t[ie] censorship to the reaction of the speaker’s audience… [A] speech burden based

on audience reactions is simply government hostility and intervention in a different




                                         21
USCA Case #23-3190       Document #2025974          Filed: 11/08/2023    Page 32 of 67



guise.” Matal v. Tam, 582 U.S. 218, 250 (2017) (Kennedy, J., concurring in part and

concurring in the judgment).

      The Gag Order also restricts criticism of public figures on matters of

enormous public concern, even though such speech receives the highest level of First

Amendment protection. Rosenblatt v. Baer, 383 U.S. 75, 85-86 (1966). Further, by

criticizing only speech that disparages, the Gag Order engages in unconstitutional

viewpoint discrimination. Matal, 582 U.S. at 243 (plurality op.).

      Thus, the Gag Order is invalid on its face or, at the very least, subject to the

strictest conceivable scrutiny—which it cannot withstand.

      B.     Given its extraordinary nature, one would expect an extraordinary

justification for the Gag Order. But none exists. The Gag Order cannot satisfy any

level of constitutional scrutiny.

      First, the prosecution made no showing that the Gag Order was necessary to

advance any important or compelling interest. When the Gag Order was entered, the

case had been pending for nearly three months, and President Trump had made many

statements about it. Yet the prosecution presented no evidence of any “threats” or

“harassment” of any prosecutors, court staff, or potential witnesses during all that

time. Instead, the prosecution admitted, “of course this prejudice is speculative.”

J.A.204. This falls far short of the “heavy burden of showing justification for” a

prior restraint. Nebraska Press Ass’n, 427 U.S. at 558.

                                         22
USCA Case #23-3190        Document #2025974            Filed: 11/08/2023     Page 33 of 67



       The Gag Order also gave no meaningful consideration to alternative, less

speech-restrictive measures to advance its interests. The prosecution presented no

evidence on this issue, and the district court made no specific findings, other than a

one-sentence recital. The Supreme Court has held that, “where there is a reasonable

likelihood that prejudicial news prior to trial will prevent a fair trial, the judge should

continue the case until the threat abates….” Sheppard v. Maxwell, 384 U.S. 333,

362–63 (1966).      Yet the district court refused to consider this most natural

alternative. J.A.162-63.

       The Gag Order is also sweepingly overbroad. It restricts large amounts of

core political speech that poses no plausible threat to the administration of justice.

The entire Gag Order rests on an unconstitutional “heckler’s veto” theory, so it is

overbroad in its entirety. The Gag Order silences public criticism of public figures

who openly attack President Trump in public statements, media interviews, political

debates, and books. The Gag Order is impermissibly one-sided, permitting President

Trump’s opponents to attack him without restriction while silencing his ability to

respond in kind. The Gag Order thus “license[s] one side of the debate to fight

freestyle, while requiring the other to follow Marquis of Queensberry rules.” R.A.V.

v. City of St. Paul, 505 U.S. 377, 391–92 (1992).

II.    The Gag Order is also unconstitutionally vague.            “Stricter standards of

permissible statutory vagueness” apply to restrictions on speech, Hynes v. Mayor &

                                            23
USCA Case #23-3190      Document #2025974            Filed: 11/08/2023     Page 34 of 67



Council of Borough of Oradell, 425 U.S. 610, 620 (1976), and “standards of

permissible statutory vagueness are strict in the area of free expression,” NAACP v.

Button, 371 U.S. 415, 432 (1963).

      The Gag Order cannot satisfy those exacting standards of clarity. The key

operative word of the Order, “target,” has a range of meanings that include

statements refer to a person in any way, statements that “attack” a person, statements

that “ridicule” or “criticize” a person, or statements that might “affect” a person

without even naming them. Compounding this vagueness, the district court later

explained that any of these meanings of “target” might apply, depending on

“context,” and that “target” means any statement that poses a “significant and

immediate risk to the integrity of the proceedings.”           J.A.338.     This is an

impermissible “obey the law” injunction, Burton v. City of Belle Glade, 178 F.3d

1175, 1201 (11th Cir. 1999), that is tailor-made to chill core political speech.

      The Gag Order suffers from other vagueness problems. It prohibits statements

that “target” any “reasonably foreseeable witness.”         J.A.231.      However, the

discovery in this case approaches 13 million pages, and the prosecution has not

provided a witness list or even a list of potential witnesses. Thus, President Trump

is left to guess as to who those “reasonably foreseeable” witnesses might be. The

Gag Order also prohibits statements about “the substance of their testimony,” which

is indeterminate and unknowable, especially months before trial. The Gag Order’s

                                          24
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023   Page 35 of 67



carve-outs authorizing “general” criticism of the Government, while prohibiting

specific statements that “target” government officials, make the vagueness even

worse. President Trump must therefore guess when criticizing the prosecution as

“politically motivated” (which the Gag Order permits) becomes “target[ing] … the

Special Counsel … or his staff” (which the Gag Order forbids). All these problems

make the Gag Order subject to “arbitrary and discriminatory application.” Grayned

v. City of Rockford, 408 U.S. 104, 108–09 (1972).

                           STANDARD OF REVIEW

      The question whether the Gag Order violates the First Amendment presents a

question of law that is subject to de novo review. See, e.g., United States v. Popa,

187 F.3d 672, 674 (D.C. Cir. 1999); United States v. Doe, 968 F.2d 86, 88 (D.C. Cir.

1992); see also City of Houston v. Hill, 482 U.S. 451, 458 n.6 (1987) (“An

independent review of the record is appropriate where the activity in question is

arguably protected by the Constitution.”) (citing NAACP v. Claiborne Hardware Co.,

458 U.S. 886, 915-16, n.50 (1982)).

      The question whether the Gag Order is unconstitutionally vague is a “pure

question[] of law” subject to de novo review. United States v. Bronstein, 849 F.3d

1101, 1106 (D.C. Cir. 2017).

                                  ARGUMENT

I.    The Gag Order Violates the First Amendment Rights of President Trump
      and His Audiences of Over One Hundred Million Americans.
                                        25
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 36 of 67




      The Gag Order is a viewpoint-based prior restraint on core political speech

during an historic Presidential campaign that imposes an indefensible heckler’s veto

and silences criticism of major public figures on matters of enormous public interest

and concern.      The prosecution submitted no current evidence to justify this

extraordinary restriction, admitting instead that “of course this prejudice is

speculative.” The Gag Order violates the First Amendment rights of both President

Trump and over 100 million Americans who listen to his speech.

      A.     The Gag Order Is Either Invalid on its Face or Subject to the
             Strictest Level of Scrutiny.

      Because it violates virtually every fundamental principle of the First

Amendment, the Gag Order is either invalid on its face, or subject to the strictest

scrutiny conceivable.

             1.     Gag orders in judicial proceedings require a showing of
                    “clear and present danger to the administration of justice.”

      In Landmark Communications, the Supreme Court held that restrictions on

speech about pending judicial proceedings require a showing of “clear and present

danger to the administration of justice.” 435 U.S. at 844. “The operations of the

courts and the judicial conduct of judges are matters of utmost public concern.” Id.

at 839. This public concern is at its highest in criminal cases, because public scrutiny

and criticism of court proceedings “guards against the miscarriage of justice by


                                          26
USCA Case #23-3190         Document #2025974         Filed: 11/08/2023    Page 37 of 67



subjecting the police, prosecutors, and judicial processes to extensive public scrutiny

and criticism.” Id. (quoting Sheppard, 384 U.S. at 350).

      Landmark Communications concerned restrictions on the media. See id. In

Ford, the Sixth Circuit applied the same standard to a gag order on a criminal

defendant who was a political candidate. 830 F.2d at 598. Adopting “the exacting

‘clear and present danger’ test for free speech,” the Sixth Circuit reasoned that the

First Amendment does not draw distinctions between ordinary individuals and the

corporate media: “We see no legitimate reasons for a lower threshold standard for

individuals, including defendants, seeking to express themselves outside of court

than for the press.” Id.

      In the district court, the prosecution contended that the “substantial likelihood

of material prejudice” standard of Gentile v. State Bar of Nevada, 501 U.S. 1030,

1063 (1991), should apply to the Gag Order. As Justice Kennedy’s plurality opinion

in Gentile points out, that “substantial likelihood” standard was intended to

“approximate the clear and present danger test,” and that the “difference” between

the two standards “could prove mere semantics.” Id. at 1037 (plurality opinion).

      To the extent that the tests differ, the higher standard applies here. Gentile

rested heavily on the fact that attorneys are not ordinary citizens, but officers of the

court, subject to unique regulations and restrictions in that role. See id. at 1066-75.

Gentile, therefore, addressed the unique status of attorneys in gagging speech related

                                          27
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023   Page 38 of 67



to pending court proceedings—in direct contrast to “the common rights of citizens.”

Id. at 1074. In upholding the State Bar’s use of the “substantial likelihood” test,

Gentile repeatedly emphasized the attorney-specific rationale for its holding, based

on the unique duties and ethical obligations of attorneys. The Court emphasized that

“lawyers in pending cases [a]re subject to ethical restrictions on speech to which an

ordinary citizen would not be.” Id. It relied on “decisions dealing with a lawyer’s

right under the First Amendment to solicit business and advertise, contrary to

promulgated rules of ethics,” which “have not suggested that lawyers are protected

by the First Amendment to the same extent as those engaged in other businesses.”

Id. at 1073. It focused on “the State’s interest in the regulation of a specialized

profession.” Id. It distinguished “the common rights of citizens” from the rights of

a lawyer, because “[a]s a lawyer he was an officer of the court, and like the court

itself, an instrument of justice.” Id. at 1074 (citations omitted). In fact, Gentile

repeatedly contrasted the rights of an “attorney” with the rights of an “ordinary

citizen” or “private citizen.” Id. at 1071, 1072 n.5, 1074.

      Accordingly, the Gag Order requires, at minimum, a “clear and present danger

to the administration of justice.” Landmark Commc’ns, 435 U.S. at 844. No such

showing supports the Gag Order here. A “clear and present danger” requires a

showing of immediacy based on strong evidence. See id. Here, the Gag Order’s

central rationale is that unidentified third parties might engage in threats or

                                         28
USCA Case #23-3190       Document #2025974          Filed: 11/08/2023    Page 39 of 67



harassment of prosecutors, potential witnesses, or court staff after hearing President

Trump’s speech. J.A.230. The only evidence claimed to support this inference is

nearly three years old. President Trump made many public statements about the case

in the months it was pending, yet the prosecution produced no evidence of any

threats or harassment during that time. Instead, the prosecution admitted, “of course

this prejudice is speculative.” J.A.204.

             2.     The Gag Order is a prior restraint on speech subject to the
                    “most exacting scrutiny.”

      The Gag Order violates a series of additional First Amendment doctrines, each

of which independently calls for the most exacting scrutiny.

      First, unlike the restrictions at issue in Landmark Communications and

Gentile, which imposed minor penalties on speech after the fact, the Gag Order is a

prior restraint on speech. J.A.231. The Gag Order “prohibit[s]” President Trump

and others, ex ante, “from making any public statements, or directing others to make

any public statements,” about specific persons or on forbidden topics. Id. That is a

quintessential prior restraint.

      In Nebraska Press Association, the Supreme Court emphasized “that prior

restraints on speech and publication are the most serious and the least tolerable

infringement on First Amendment rights.” 427 U.S. at 559. “[A] prior restraint” is

“one of the most extraordinary remedies known to our jurisprudence.” Id. at 562.

Prior restraints in the context of judicial proceedings are particularly suspect:
                                           29
USCA Case #23-3190       Document #2025974            Filed: 11/08/2023    Page 40 of 67



“Truthful reports of public judicial proceedings have been afforded special

protection against subsequent punishment.” Id. And “the protection against prior

restraint should have particular force as applied to reporting of criminal

proceedings….” Id.

      “Prior restraints have been accorded the most exacting scrutiny.” Smith, 443

U.S. at 102. For example, in Capital Cities Media, Inc. v. Toole, Justice Brennan

stayed a gag order that prevented the publication of “the names or addresses of any

juror” in a high-profile criminal case. 463 U.S. 1303, 1304 (1983). Emphasizing

“the special importance of swift action to guard against the threat to First

Amendment values posed by prior restraints,” Justice Brennan held that “even a

short-lived ‘gag’ order in a case of widespread concern to the community constitutes

a substantial prior restraint and causes irreparable injury to First Amendment

interests as long as it remains in effect.” Id. He questioned whether any justification

could support such an order: “Our precedents make clear … that far more

justification than appears on this record would be necessary to show that this

categorical, permanent prohibition against publishing information already in the

public record was ‘narrowly tailored to serve that interest,’ if indeed any justification

would suffice to sustain a permanent order.” Id. at 1306.




                                           30
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 41 of 67



       So also here, “far more justification than appears on this record would be

necessary” to justify the Gag Order, “if indeed any justification would suffice to

sustain” it. Id.

              3.   The Presidential campaign calls for the First Amendment’s
                   “fullest and most urgent application.”

       Another grave defect of the Gag Order is its failure to consider President

Trump’s heightened First Amendment interests as a political candidate in spreading

his core political speech during his campaign. This affects both President Trump

and the reciprocal interests of his listeners and American voters.

       “Speech on matters of public concern is at the heart of the First Amendment’s

protection. That is because speech concerning public affairs is more than self-

expression; it is the essence of self-government.” Snyder v. Phelps, 562 U.S. 443,

451-52 (2011) (cleaned up) (citing numerous cases). “No form of speech is entitled

to greater constitutional protection” than “[c]ore political speech.” McIntyre v. Ohio

Elec. Comm’n, 514 U.S. 334, 347 (1995).

       Likewise, no form of core political speech receives greater protection than

campaign speech. The First Amendment’s “constitutional guarantee has its fullest

and most urgent application precisely to the conduct of campaigns for political

office.” Susan B. Anthony List, 573 U.S. at 162 (quoting Monitor Patriot Co. v. Roy,

401 U.S. 265, 272 (1971)). Campaign speech lies “at the core of our electoral

process of the First Amendment freedoms—an area … where protection of robust
                                         31
USCA Case #23-3190        Document #2025974         Filed: 11/08/2023     Page 42 of 67



discussion is at its zenith.” Meyer v. Grant, 486 U.S. 414, 425 (1988) (citations and

quotations omitted).

      The only two cases addressing gag orders on criminal defendants who were

also political candidates—Ford and Brown—granted virtually complete exemptions

for the defendant’s campaign speech. In Ford, the Sixth Circuit stated:

      Here the defendant … is entitled to attack the alleged political motives of the
      Republican administration which he claims is persecuting him because of his
      political views and his race…. He is entitled to fight the obvious damage to
      his political reputation in the press and in the court of public opinion, as well
      as in the courtroom and on the floor of Congress. He will soon be up for
      reelection. His opponents will attack him as an indicted felon. He will be
      unable to respond in kind if the District Court’s order remains in place.

830 F.2d at 600-01. In Brown, the Fifth Circuit noted that “[t]he district court also

made special allowances for Brown’s re-election campaign by lifting most of the

order … for the duration of the campaign…. Brown was able to answer, without

hindrance, the charges of his opponents regarding his indictment throughout the

race.” 218 F.3d at 430.

      Thus, in prior cases involving criminal defendants who were political

candidates, the courts imposed virtually no restrictions on their speech. Here, the

speaker is the leading Republican candidate for President of the United States. And

the Gag Order restricts speech that is inextricably entwined with his campaign. The

issues underlying the indictment are “central to [Biden’s] re-election argument.”

Liptak, supra. President Trump’s message that the criminal cases against him are

                                         32
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 43 of 67



part of a politically motivated, unconstitutional campaign to silence him and derail

his candidacy lies at the heart of his campaign—and the heart of the First

Amendment.

      The district court attempted to set metes and bounds for President Trump’s

campaign speech by dictating that certain “general[]” topics are permissible, while

specific statements that “target” certain people are unacceptable. J.A.231. At oral

argument, the district court repeatedly questioned why it was “necessary” to

President Trump’s campaign to make public comments about specific individuals.

J.A.183-84, 189, 195; see also J.A.205-06. The district court then tried to cordon

off what it considered to be “necessary” or appropriate campaign speech, authorizing

President Trump to make “general[]” statements, while forbidding him to make

“public statements that target” the Special Counsel, his prosecutors, and political

rivals like Attorney General Barr and Vice President Pence. J.A.231.

      The Supreme Court has rejected similar attempts to dictate the scope of

permissible campaign speech. In Republican Party of Minnesota, the Supreme

Court rejected a restriction on campaign speech that prohibited candidates for

judicial office from discussing their “views on disputed legal or political issues.”

536 U.S. at 768. Minnesota defended the restriction on the ground that the law “still

leaves plenty of topics for discussion on the campaign trail,” including “a list of




                                         33
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 44 of 67



preapproved questions which judicial candidates are allowed to answer.” Id. at 774.

The Supreme Court rejected the argument:

      [T]he notion that the special context of electioneering justifies an abridgment
      of the right to speak out on disputed issues sets our First Amendment
      jurisprudence on its head. Debate on the qualifications of candidates is at the
      core of our electoral process and of the First Amendment freedoms, not at the
      edges. The role that elected officials play in our society makes it all the more
      imperative that they be allowed freely to express themselves on matters of
      current public importance. It is simply not the function of government to
      select which issues are worth discussing or debating in the course of a political
      campaign. We have never allowed the government to prohibit candidates
      from communicating relevant information to voters during an election.

Id. at 781–82 (citations and quotation marks omitted).

             4.     The Gag Order violates the First Amendment rights of the
                    tens of millions of Americans who listen to President Trump.

      The Gag Order also violates the equal, reciprocal, and independent rights of

President Trump’s audiences and the American public. The First Amendment’s

“protection afforded is to the communication, to its source and to its recipients both.”

Va. State Bd. of Pharm., 425 U.S. at 756 (citing many cases); see also Packingham

v. North Carolina, 582 U.S. 98, 104 (2017) (recognizing the right to “speak and

listen, and then … speak and listen once more,” as a “fundamental principle of the

First Amendment”); Red Lion Broad. Co. v. F.C.C., 395 U.S. 367, 390 (1969);

Armstrong v. D.C. Pub. Library, 154 F. Supp. 2d 67, 75 (D.D.C. 2001) (citing “long-

standing precedent supporting plaintiff’s First Amendment right to receive

information and ideas”). A restriction on President Trump’s speech inflicts a

                                          34
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 45 of 67



“reciprocal” injury on the tens of millions of Americans who listen to him. Va. State

Bd. of Pharm., 425 U.S. at 757.

      Like the right to speak, this right to listen has its “fullest and most urgent

application precisely to the conduct of campaigns for political office,” especially for

the Presidency. Susan B. Anthony List, 573 U.S. at 162. Both the Sixth Circuit in

Ford and the Fifth Circuit in Brown recognized this paramount interest. In Ford, the

court emphasized that, if Congressman Ford were silenced, “reciprocally, his

constituents will have no access to the views of their congressman on this issue of

undoubted public importance.” 830 F.2d at 601. Likewise, Brown held that “[t]he

urgency of a campaign … may well require that a candidate, for the benefit of the

electorate as well as himself, have absolute freedom to discuss his qualifications….”

218 F.3d at 430.

      Indeed, both before and after it was entered, the Gag Order has been widely

criticized from across the political spectrum for restricting the rights of the American

public to hear from the leading Presidential candidate in the middle of campaign

season. See, e.g., Terry Evans, Democrats’ Drive To Impose ‘Gag’ Orders on Trump

Is   Blow      to    Free    Speech,      THE     MILITANT      (Nov.     13,    2023),

https://themilitant.com/2023/11/04/democrats-drive-to-impose-gag-orders-on-

trump-is-blow-to-free-speech/; Besty McCaughey, Why the ACLU Is Going To Bat

For Donald Trump, N.Y. POST (Nov. 1, 2023) (the Gag Order violates “the public’s

                                          35
USCA Case #23-3190      Document #2025974            Filed: 11/08/2023    Page 46 of 67



right to hear Trump’s views so it can decide ‘whether he deserves to be elected

again’”); Jonathan Turley, The Trump Gag Order Should Be Struck Down, THE HILL

(Oct. 18, 2023), https://thehill.com/opinion/judiciary/4262942-the-trump-gag-

order-should-be-struck-down/; The Editors, The Trump Gag Order Goes Too Far,

NATIONAL REVIEW (Oct. 18, 2023) (“Not only is free speech his right—it is the right

of voters in the forthcoming primary and general elections to hear it before choosing

the nation’s next president.”); Andrew McCarthy, The Trump Gag Order Is Judicial

Overkill, NATIONAL REVIEW (Oct. 17, 2021); Isaac Arnsdorf et al., In Trump Cases,

Experts Say Defendant’s Rhetoric Will Be Hard To Police, WASHINGTON POST (Aug.

23, 2023) (the judge should “permit voters access to the defendant’s statements as

they decide how to cast their ballots…”); Jason Willick, Go Ahead, Silence Donald

Trump, WASHINGTON POST (Sept. 19, 2023).

      Though President Trump repeatedly raised the issue, J.A.98-99, 104, 117;

J.A.186, 201-02, the district court gave the First Amendment rights of President

Trump’s audiences no meaningful consideration. The Gag Order does not mention

it, see J.A.229-31, and the district court declined to consider it when President Trump

raised it, J.A.186, 201-02. This, too, was error.

             5.     The Gag Order imposes an impermissible heckler’s veto.

      The Gag Order’s central justification is to protect trial participants from

supposed “threats” and “harassment” by independent third parties. J.A.230-31. This

                                          36
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 47 of 67



was the Court’s predominant concern at oral argument, see J.A.183, 186-87, 201-02,

204, 210, 221, and it is the only justification stated within the Gag Order. J.A.230.

The court did not hold, and the prosecution does not contend, that any of President

Trump’s public statements constitute threats, “fighting words,” or incitement to

imminent lawless action. See, e.g., Counterman v. Colorado, 600 U.S. 66, 73 (2023);

Brandenburg v. Ohio, 395 U.S. 444, 447 (1969). Thus, the Gag Order restricts

President Trump’s speech based solely on the anticipated reaction of unidentified,

independent third parties.

      This is a classic heckler’s veto, which the First Amendment categorically

forbids. Under the First Amendment, public speakers “are not chargeable with the

danger” that their audiences “might react with disorder or violence.” Brown v.

Louisiana, 383 U.S. at 133 n.1 (plurality op.). “[C]onstitutional rights may not be

denied simply because of hostility to their assertion or exercise.” Cox v. Louisiana,

379 U.S. 536, 551 (1965) (cleaned up) (citing Edwards v. South Carolina, 372 U.S.

229, 237 (1963); and Watson v. City of Memphis, 373 U.S. 526, 535 (1963)); see

also, e.g., Forsyth County v. Nationalist Movement, 505 U.S. 123, 134-35 (1992)

(“Speech cannot be … punished or banned, simply because it might offend a hostile

mob.”); Collin v. Chicago Park Dist., 460 F.2d 746, 754 (7th Cir. 1972). “The

Supreme Court has made it clear . . . that the government may not prohibit speech

under a ‘secondary effects’ rationale based solely on the emotive impact that

                                         37
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 48 of 67



its . . . content may have on a listener.” Saxe v. State Coll. Area Sch. Dist., 240 F.3d

200, 209 (3d Cir. 2001) (citing cases).

      Thus, a heckler’s veto arises from the anticipated unruly “reaction of the

speaker’s audience,” whether that audience is favorable or unfavorable to the

speaker: “The Government may not insulate a law from charges of viewpoint

discrimination by tying censorship to the reaction of the speaker’s audience.” Matal,

582 U.S. at 250 (Kennedy, J., concurring in part and concurring in the judgment).

“Indeed, a speech burden based on audience reactions is simply government hostility

and intervention in a different guise.” Id.

      Thus, speech that falls short of incitement may not be silenced solely because

it might inspire others to engage in violence or other unruly behavior—regardless of

how predictable (or not) those unruly reactions might be. The Supreme Court’s

incitement “decisions have fashioned the principle that the constitutional guarantees

of free speech and free press do not permit a State to forbid or proscribe advocacy

of the use of force or of law violation except where such advocacy is directed to

inciting or producing imminent lawless action and is likely to incite or produce such

action.” Brandenburg, 395 U.S. at 447. A speech restriction that seeks to silence

speech because it might provoke violence or unlawful behavior from the audience

“impermissibly intrudes upon the freedoms guaranteed by the First and Fourteenth




                                          38
USCA Case #23-3190      Document #2025974            Filed: 11/08/2023    Page 49 of 67



Amendments. It sweeps within its condemnation speech which our Constitution has

immunized from governmental control.” Id. (citing eight cases).

      Moreover, the Gag Order silences President Trump’s speech largely to prevent

“harassment” of prosecutors, court staff, or potential witnesses. J.A.230. But

“harassment” is a vague term that itself includes significant amounts of First

Amendment-protected speech. See, e.g., Popa, 187 F.3d at 672; Saxe, 240 F.3d at

204 (“There is no categorical ‘harassment exception’ to the First Amendment’s free

speech clause.”); see also McCullen v. Coakley, 573 U.S. 464, 491 n.8 (2014). Thus,

the district court held that President Trump’s First Amendment rights must be

suppressed largely to prevent others from exercising their First Amendment rights.

See id. That is the worst kind of heckler’s veto.

             6.     The Gag Order shields public figures from public criticism.

      Further, the Gag Order suppresses criticism of quintessential public figures—

a form of speech entitled to the highest level of First Amendment protection. The

Special Counsel and his team are high-level government officials who volunteered

for this high-profile prosecution and thus “thrust” themselves “into the vortex of this

public issue.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 352 (1974). Likewise, the

“witnesses” who supposedly might be “intimidated” by President Trump’s speech

are current and former officials from the highest echelons of government who have




                                          39
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 50 of 67



repeatedly attacked President Trump in public statements, televised debates, national

media interviews, and even books.

      In Rosenblatt, the Supreme Court held that “[c]riticism of government is at

the very center of the constitutionally protected area of free discussion” and so such

criticisms “must be free, lest criticism of government itself be penalized.” 383 U.S.

at 85. Every prosecutor on the case, and every potential witness identified by the

prosecution, plainly constitutes a public figure. Compare, e.g., Crane v. Ariz.

Republic, 972 F.2d 1511, 1524-25 (9th Cir. 1992) (prosecutor and head of federal

task force are public figures); Diesen v. Hessburg, 455 N.W.2d 446, 450 (Minn.

1990) (county attorney is public figure); ACLU, Inc. v. Zeh, 864 S.E.2d 422, 437-38

(Ga. 2021) (county public defender for misdemeanors is a public figure). The First

Amendment does not tolerate an order shielding such public figures from criticism.

             7.    The Gag Order involves viewpoint discrimination.

      The Gag Order is content-based on its face, as it restricts speech on particular

topics and about particular individuals. J.A.231. It also involves unconstitutional

viewpoint discrimination. By forbidding speech that “target[s]” certain individuals,

the Gag Order prohibits only (vaguely defined) negative speech about them. See

also infra, Part II. In Matal, the Supreme Court unanimously agreed that prohibiting

only negative or “disparaging” speech constitutes forbidden viewpoint

discrimination. See 582 U.S. at 243 (plurality op.). Such a prohibition “constitutes

                                         40
USCA Case #23-3190      Document #2025974            Filed: 11/08/2023    Page 51 of 67



viewpoint discrimination—a form of speech suppression so potent that it must be

subject to rigorous constitutional scrutiny.” Id. at 247 (Kennedy, J., concurring in

part and concurring in the judgment). To prohibit “disparaging” speech “reflects the

Government’s disapproval of a subset of messages it finds offensive. This is the

essence of viewpoint discrimination.” Id. at 249.

      The Gag Order’s unlawful viewpoint discrimination is also reflected in the

district court’s rationale for adopting the Order. At oral argument, the district court

expressed particular concern about President Trump’s post about General Milley, in

which he accused General Milley of “actually dealing with China to give them a

heads up on the thinking of the President of the United States,” stated that “[a] war

between China and the United States could have been the result of this treasonous

act,” and stated that “[t]his is an act so egregious that, in times gone by, the

punishment would have been DEATH!” J.A.130. The district court, incorrectly,

viewed this statement as a call for violence against General Milley. J.A.200-01, 204,

221. The district court specifically referred to this post in the Gag Order. J.A.230

(stating that President Trump has “made statements … that particular individuals …

deserve death”).

      The district court interpreted this post divorced from its context and in the

most negative (and unreasonable) conceivable light.         See J.A.201-02 (defense

counsel explaining the post’s context). The post makes no reference whatsoever to

                                          41
USCA Case #23-3190       Document #2025974            Filed: 11/08/2023    Page 52 of 67



the case. As reported in a book by Bob Woodward and Robert Costa, “in the final

months of the Trump Administration,” General Milley, then President Trump’s

Chairman of the Joint Chiefs of Staff, made “secret phone calls” to “his Chinese

counterpart, General Li Zuocheng of the People’s Liberation Army,” without

President Trump’s knowledge or authorization, in which General Milley “pledge[d]

he would alert his [Chinese] counterpart in the event of a U.S. attack,” stating, “[i]f

we’re going to attack, I’m going to call you ahead of time. It’s not going to be a

surprise.” Isaac Stanley-Becker, Book: Top General Feared Trump Might Spark

War, Secretly Called Chinese Counterpart, San Diego Union-Tribune (Sept. 14,

2021),         https://www.sandiegouniontribune.com/news/politics/story/2021-09-

14/book-top-general-feared-trump-might-spark-war-secretly-called-chinese-

counterpart. “Milley … did not relay the conversation[s] to Trump.” Id.

      After this report, General Milley’s actions were widely criticized by many

commentators—including U.S. Senators—as possibly treasonous.9                  President


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  See, e.g., Samuel Chamberlain, Calls Grow for Milley to Come Clean over Calls
with Chinese Counterpart, NEW YORK POST (Sept. 16, 2021),
https://nypost.com/2021/09/16/senators-call-for-gen-mark-milley-to-come-clean-
over-calls-with-chinese-counterpart/ (Sen. Rubio stated, “This is treacherous, it was
dangerous, it’s unconstitutional, and General Milley needs to answer questions about
it, because if this is true, he should be fired.”); Bill Gertz, Milley War-Scare Calls to
Chinese General Questioned, WASHINGTON TIMES (Oct. 12, 2021),
https://www.washingtontimes.com/news/2021/oct/12/milley-war-scare-calls-
chinese-general-questioned/; Jack Durschlag, Milley-China Calls Weren’t
Authorized, Trump’s Ex-Acting Defense Chief Says, FOX NEWS (Sept. 16, 2021),
https://www.foxnews.com/us/milley-china-calls-authorized-trump-defense-chief.
                                             42
USCA Case #23-3190       Document #2025974            Filed: 11/08/2023     Page 53 of 67



Trump’s statement that General Milley engaged in a “treasonous act” that would

have been punishable by death in “times gone by,” J.A.130, thus refers to General

Milley’s secret, unauthorized communications with China in 2020 and 2021—an

issueof urgent public importance separate from this case.               Nebraska Press

Association calls for the court to place the “heavy burden of showing justification

for the imposition of such a restraint” on the party seeking the gag order, not the

gagged party. 427 U.S. at 558. By interpreting President Trump’s speech out of

context and in the most negative possible light, the district court discriminated

against his viewpoint.

      B.     The Gag Order Cannot Survive Any Level of Scrutiny.

      The Gag Order is either invalid on its face or subject to the most exacting

scrutiny. The Gag Order cannot survive any level of scrutiny.

             1.     The prosecution failed to establish any compelling interest
                    for a prior restraint on speech.

      First, the prosecution made no showing that suppressing President Trump’s

speech would serve any important or compelling interest. As noted above, the party

seeking to justify a gag order bears “the heavy burden of demonstrating, in advance

of trial, that without prior restraint a fair trial will be denied.” Nebraska Press Ass’n,

427 U.S. at 569. This “heavy burden,” id., is an evidentiary burden: Where “the

record is lacking in evidence to support” the gag order, it will not be upheld. Id. at


                                           43
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 54 of 67



565; see also id. at 563; Landmark Commc’ns, 435 U.S. at 843 (holding that “actual

facts” are necessary to support a gag order).

      Here, the Gag Order’s justification is to protect prosecutors, potential

witnesses, and court staff from possible threats and harassment inspired by President

Trump’s speech. J.A.230-31. Yet by the time the Gag Order was entered, the case

had been pending for almost three months, and President Trump had spoken about

it very often. The prosecution provided at least 17 examples of public statements by

President Trump between August 2 and September 26, 2023, that it considered

objectionable. J.A.77-85; J.A.129-30. But it did not produce any evidence that,

during all that time, any prosecutor, witness, or court staff experienced “threats” or

“harassment” after—let alone based on—President Trump’s speech. Likewise, it did

not produce any evidence that any witness or prosecutor even felt threatened or

intimidated by President Trump’s speech—however subjectively. See id.

      Instead, the prosecution relied on a handful of instances from almost three

years ago. J.A.76-78. When asked about the dearth of current evidence, the

prosecution admitted, “of course this prejudice is speculative.” J.A.204. But a prior

restraint cannot be based on speculation. Nebraska Press Ass’n, 427 U.S. at 569.

Even if unruly actions by President Trump’s listeners could be considered—which

they cannot, supra Part I.A.5—the prosecution failed to submit evidence to establish

them. On the contrary, the prosecution provided evidence that, in the 77 days

                                         44
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 55 of 67



between the indictment and the entry of the Gag Order, President Trump made

constant public statements about the case and people involved in it, yet it presented

no evidence that those statements led any third parties to threaten or harass

prosecutors, witnesses, or court staff. As in Landmark Communications, “the record

before [the district court] was devoid of … ‘actual facts.’” 435 U.S. at 843.

      No doubt because actual evidence was so scarce, the district court repeatedly

relied on information outside the record. Instead of relying on President Trump’s

actual statements, the district court focused on “a list of hypothetical statements”

that President Trump never said. J.A.182, 193-94, 211-18. With regard to court

staff, the district court relied on misleading media reports regarding President

Trump’s core political speech criticizing the conduct of a civil trial in New York.

J.A.192-94. The district court’s perusal of such extra-record materials was evidently

the sole basis for including the “court’s staff” in the Gag Order, see id., since the

prosecution presented no evidence that President Trump made any statements about

court staff. Again, “far more justification than appears on this record would be

necessary” to justify this order. Capital Cities Media, 463 U.S. at 1306.

             2.    The Gag Order failed to consider less speech-restrictive
                   alternatives.

      The Gag Order also failed to meaningfully consider less speech-restrictive

alternatives before imposing a prior restraint on President Trump’s speech. “It is

axiomatic that the limitation on First Amendment freedoms must be ‘no greater than
                                         45
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 56 of 67



is essential to the protection of the particular governmental interest involved.’”

Brown, 218 F.3d at 429 (quoting Procunier v. Martinez, 416 U.S. 396, 412 (1974));

see also Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 (1984) (considering

“whether the limitation of First Amendment freedoms is no greater than is necessary

or essential to the protection of the particular governmental interest involved”).

Sheppard emphasized the lower court’s failure to consider alternative measures, such

as change of venue and jury sequestration. Sheppard, 384 U.S. at 352-53. The trial

court was required to “consider[] other means … to reduce the appearance of

prejudicial material and to protect the jury from outside influence.” Id. at 358.

      Nebraska Press Association reinforced the necessity of considering less

speech-restrictive measures. 427 U.S. at 562 (considering “whether other measures

would be likely to mitigate the effects of unrestrained pretrial publicity”). The

Supreme Court emphasized the importance of evidence and specific findings of fact:

“We find little in the record that goes to another aspect of our task, determining

whether measures short of an order restraining all publication would have insured

the defendant a fair trial…. [T]he trial court made no express findings to that

effect….” Id. at 563. The Supreme Court provided examples of a wide range of

alternative measures, including a “change of trial venue,” “postponement of the trial

to allow public attention to subside,” “searching questioning of prospective jurors,”

“the use of emphatic and clear [jury] instructions,” and “[s]equestration of jurors.”

                                         46
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 57 of 67



Id. at 563–64. The Gag Order contains no meaningful consideration of such

alternatives. “There is no finding that alternative measures would not have protected

[defendant’s] rights…. Moreover, the record is lacking in evidence to support such

a finding.” Id. at 565; see also Ford, 830 F.2d at 600.

      Here, the prosecution presented no evidence on the availability or efficacy of

any less speech-restrictive alternatives. The Gag Order cites no evidence on this

question, and it makes no specific findings, other than its one-sentence recital that

“alternative measures such as careful voir dire, jury sequestration, and cautionary

jury instructions are sufficient to remedy only some of the potential prejudices that

the government’s motion seeks to address.” J.A.229-30 (emphasis added). A prior

restraint requires much more.       There is “little in the record that goes to …

determining whether measures short of an order retraining all publication would

have insured the defendant a fair trial.” Nebraska Press Ass’n, 427 U.S. at 563.

      This deficiency is starkest with respect to the most obvious alternative—

delaying the trial date until after the Presidential election. Sheppard held that the

principal method of addressing pretrial publicity, and by far the least restrictive, is

granting a continuance of the trial: “[W]here there is a reasonable likelihood that

prejudicial news prior to trial will prevent a fair trial, the judge should continue the

case until the threat abates….” 384 U.S. at 362-63 (emphasis added); see also

Nebraska Press Ass’n, 427 U.S. at 563-64 (raising “postponement of the trial to

                                          47
USCA Case #23-3190       Document #2025974           Filed: 11/08/2023    Page 58 of 67



allow public attention to subside” as a less restrictive measure). Yet when defense

counsel repeatedly urged this alternative, the district court refused even to entertain

the idea. J.A.162-63 (“This trial will not yield to the election cycle and we’re not

revisiting the trial date….”); see also J.A.208, 221. This was clear error.

                    3.    The Gag Order is sweepingly overbroad.

      Further, the Gag Order fails any tailoring analysis because it sweeps in huge

amounts of constitutionally protected, core political speech that presents no plausible

threat to the administration of justice. See supra, Part I.A. The entire Gag Order

rests on an impermissible “heckler’s veto” theory, so it is overbroad to its core.

Supra, Part I.A.5. The Gag Order bans criticism of high-level public figures like

Vice President Pence, Attorney General Barr, General Milley, and others—speech

that presents no plausible threat to the administration of justice. Criticisms of such

public figures, like criticism of judges—even criticism that uses “strong language,

interpretate language” and is “unfair”—cannot be so restricted. Craig v. Harney,

331 U.S. 367, 376 (1947). “Judges are supposed to be [people] of fortitude, able to

thrive in a hardy climate.” Id. “[T]he same is true of other government officials,”

like the Special Counsel and his staff, the former Vice President, the former Attorney

General, and others. N.Y. Times Co. v. Sullivan, 376 U.S. 254, 273 (1964). These

individuals are long accustomed to President Trump’s speech and openly challenge




                                          48
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023   Page 59 of 67



him in the public square. The notion that any such individual may somehow be

“intimidated” or “threatened” by President Trump’s public criticism is baseless.

      On this point, the Gag Order’s one-sided nature is particularly offensive to

First Amendment values. It prevents President Trump from “targeting” senior public

figures—such as Vice President Pence and Attorney General Barr—who routinely

attack him and his fitness for the Presidency, thus thrusting themselves into the

“vortex” of the campaign’s public debate. Gertz, 418 U.S. at 352. The district court

“has no such authority to license one side of a debate to fight freestyle, while

requiring the other to follow Marquis of Queensberry rules.” R.A.V., 505 U.S. at

391-92.

II.   The Gag Order Is Unconstitutionally Vague.

      Both the Due Process Clause and the First Amendment require prior restraints

on speech to employ clear and precise language.               The Gag Order is

unconstitutionally vague and contemplates severe penalties on President Trump, in

addition to the First Amendment harms on him and the public, based on subjective

and unpredictable hindsight-based enforcement.

      The Supreme Court imposes exacting standards of clarity on prior restraints,

because they are “the most serious and the least tolerable infringement on First

Amendment rights,” and “one of the most extraordinary remedies known to our

jurisprudence.” Nebraska Press Ass’n, 427 U.S. at 559, 562; see also id. at 568

                                        49
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 60 of 67



(holding that the gag order was “too vague and too broad to survive the scrutiny we

have given to restraints on First Amendment rights”). “The general test of vagueness

applies with particular force in review of laws dealing with speech.         Stricter

standards of permissible statutory vagueness may be applied to a statute having a

potentially inhibiting effect on speech….” Hynes, 425 U.S. at 620; see also, e.g.,

Buckley v. Valeo, 424 U.S. 1, 77 (1976) (“Where First Amendment rights are

involved, an even ‘greater degree of specificity’ is required.”); Button, 371 U.S. at

432 (“[S]tandards of permissible statutory vagueness are strict in the area of free

expression.”).

      Under these heightened standards, the Gag Order is unconstitutionally vague.

First, the central operative verb in the prohibition, “target,” is incurably vague.

J.A.231 (prohibiting “the parties and their counsel … from making any public

statements … that target” a series of persons). The verb “target” means “to make a

target of,” whereas the noun “target” may mean “a mark to shoot at,” “something or

someone marked for attack,” “a goal to be achieved,” “an object of ridicule or

criticism,” or “something or someone to be affected by an action or development,”

among     several   other    meanings.        Target,   Merriam-Webster      Online,

https://www.merriam-webster.com/dictionary/target.

      Thus, public statements that “target” the listed persons could include (1) any

statement that refers to them in any way (i.e., any “mark to shoot at”), id.; (2) any

                                         50
USCA Case #23-3190       Document #2025974            Filed: 11/08/2023   Page 61 of 67



statements that “attack” them in any way, id.; (3) any statement that subjects any

person to “ridicule or criticism” of any kind, id.; and/or (4) any statement that might

“affect” a person in any way, even if they are not directly mentioned, id. The

Supreme Court has held that far more precise language is impermissibly vague.

Nebraska Press Ass’n, 427 U.S. at 568 (holding that the word “implicative” in a

pretrial gag order was unconstitutionally vague). Moreover, under the Supreme

Court’s exacting vagueness scrutiny, the court may not presume or speculate that a

narrower meaning was intended. Button, 371 U.S. at 432 (“If the line drawn … is

an ambiguous one, we will not presume that the statute curtails constitutionally

protected activity as little as possible.      For standards of permissible statutory

vagueness are strict in the area of free expression.”).

      In denying President Trump’s motion for stay pending appeal, the district

court held that any or all these meanings of “target” might apply: “[D]epending on

their context, statements matching each of the definitions Defendant proffers for the

term ‘target’ could pose such risks.” J.A.338. The statements that impermissibly

“target” people, the district court explained, are those “that could result in

‘significant and immediate risks’ to ‘the integrity of these proceedings.’” Id. Thus,

the Gag Order boils down to an order directing President Trump not to say anything

that presents “a significant and immediate risk to the integrity of these proceedings.”

Id. This “clarification” makes the vagueness even worse. A gag order cannot simply

                                          51
USCA Case #23-3190       Document #2025974            Filed: 11/08/2023    Page 62 of 67



command a party to “obey the law” and comply with a vague, potentially subjective

legal standard. See, e.g., Burton, 178 F.3d at 1201. The threat of “arbitrary and

discriminatory application” in such cases is manifest. Grayned, 408 U.S. at 108-09.

      The district court relied on Bronstein to argue that dictionaries are not relevant

to vagueness inquiry. J.A.338. This misconstrues Bronstein. The statute at issue in

Bronstein was not a prior restraint, and the Court did not analyze it as one, nor apply

the exacting standards of clarity that apply to prior restraints. See Bronstein, 849

F.3d at 1102. And Bronstein held that the words “harangue” and “oration” at issue

had a simple, commonsense meaning—“public speeches.”                Id. at 1108. This

straightforward meaning was rendered even more narrow and specific by the

statute’s immediate context. Id. at 1109. The Gag Order differs from the statute in

Bronstein because its key terms are vague from the outset, they draw no clarification

from immediate context, and the district court’s subsequent gloss made the

vagueness problems even worse. See id. Further, Bronstein consciously sought to

employ every possible interpretative tool to narrow the statute and eliminate its

vagueness. Id. at 1106. But for a prior restraint like the Gag Order, the reviewing

court “will not presume that the [restraint] curtails constitutionally protected activity

as little as possible.” Button, 371 U.S. at 432.

      The Gag Order suffers from other vagueness problems as well. It applies to

all “interested parties,” which clearly includes unspecified persons in addition to

                                           52
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023   Page 63 of 67



“the parties and their counsel.” J.A.231 (“All interested parties in this matter,

including the parties and their counsel, are prohibits….”). An “interested” party is

one “affected or involved” by the proceedings. Interested, Merriam-Webster Online,

https://www.merriam-webster.com/dictionary/interested (defining “interested” as

“being affected or involved: interested parties”). Thus, the Gag Order might apply

to everyone “affected” by or “involved” in the case—the potential witnesses, the

prosecutors, the Department of Justice, President Trump’s attorneys in other cases,

the Trump campaign, and the Biden campaign, or even the media covering it. Again,

attempting to adopt a narrowing construction of this broad, imprecise language

cannot cure it. Button, 371 U.S. at 432.

      Likewise, the Gag Order’s references to “any reasonably foreseeable witness”

and “the substance of their testimony” are incurably vague. The discovery in this

case comprises nearly 13 million pages and references hundreds of individuals. It is

anyone’s guess which witnesses may be “reasonably foreseeable” at this stage, and

this future-looking standard invites impermissible enforcement-by-hindsight.

Likewise, unless and until any such witnesses are called, President Trump will have

to guess what the “substance of their testimony” may involve—but the Gag Order

binds him now.     The vagueness doctrine prevents ex post enforcement, or a

standardless judgment as to which witnesses were “reasonably foreseeable” after the

fact. When it comes to the Gag Order’s scope, people “of common intelligence must

                                           53
USCA Case #23-3190      Document #2025974           Filed: 11/08/2023    Page 64 of 67



necessarily guess at its meaning,” rendering it fatally vague. Hynes, 425 U.S. at 620

(quoting Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1926)).

      The Gag Order’s carve-outs exacerbate the vagueness problems. J.A.231.

The carve-outs seem to authorize “criticizing the government generally, including

the current administration or the Department of Justice,” but evidently do not allow

criticism the most relevant figures in the Department of Justice, i.e., the Special

Counsel and his prosecutors. See id. The carve-outs supposedly allow President

Trump to state “that his prosecution is politically motivated,” but the Gag Order

prevents him from “targeting” the specific actors involved in his prosecution. Id.

Thus, President Trump must guess when criticizing the prosecution as “politically

motivated” ends, and “targeting” those politically motivated prosecutors begins. Id.

The carve-outs apparently authorize “statements criticizing the platforms or policies

of … former Vice President Pence,” id., but the “platforms or policies” of candidates

like Pence (and Biden) are deeply intertwined with their views on election integrity,

with specific reference to the issues in the indictment—as their own public

statements demonstrate.     When does criticism of Mike Pence’s “platforms or

policies” become a statement “that target[s] … the substance of [his] testimony,” id.,

when questions about the integrity of the 2020 election are central to both the 2024

Presidential campaign and this case? Liptak, supra. All must guess—and all will

guess differently. The Gag Order is unconstitutionally vague.

                                         54
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 65 of 67



                                 CONCLUSION

      The district court’s Opinion and Order, J.A.229, should be reversed in its

entirety. If the Court affirms any portion of the Order, President Trump respectfully

requests that the Court extend the administrative stay for seven days to permit him

to seek emergency relief from the U.S. Supreme Court.


Dated: November 8, 2023                Respectfully Submitted,

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                                         55
USCA Case #23-3190      Document #2025974          Filed: 11/08/2023    Page 66 of 67



                         CERTIFICATE OF SERVICE

      I hereby certify that, on November 8, 2023, I caused a true and correct copy

of the foregoing to be filed by the Court’s electronic filing system, to be served by

operation of the Court’s electronic filing system on counsel for all parties who have

entered in the case.

                                                                   /s/ D. John Sauer




                                         56
USCA Case #23-3190     Document #2025974         Filed: 11/08/2023    Page 67 of 67



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                                         57
